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                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                           TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

-vs-                                                              Case # 4:07CR34-02

THEODORE HARRIS
                                                                  USM # 12136-017

                                                                  Defendant's Attorney:
                                                                  Randolph P. Murrell (FPD)
                                                                  227 N. Bronough Street, Suite 4200
                                                                  Tallahassee, Florida 32301
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts 6 through 10 of the Indictment on June 13, 2007. Accordingly,
IT IS ORDERED that the defendant is adjudged guilty of such counts which involve the following
offenses:

       TITLE/SECTION                           NATURE OF                  DATE OFFENSE
          NUMBER                                OFFENSE                    CONCLUDED           COUNT

       18 U.S.C. § 1503             Impeding Federal Officers and a        June 28, 2006          6
                                             Federal Jury

     18 U.S.C. § 1001(a)                Making False Statements             June 8, 2006          7

     18 U.S.C. § 1001(a)                Making False Statements            June 13, 2006          8

     18 U.S.C. § 1001(a)                Making False Statements            June 21, 2006          9

     18 U.S.C. § 1623(a)             Making False Declarations to a        June 28, 2006          10
                                             Federal Jury

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.
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IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.


                                                                  Date of Imposition of Sentence:
                                                                  November 19, 2007



                                                                  s/ Stephan P. Mickle
                                                                  STEPHAN P. MICKLE
                                                                  UNITED STATES DISTRICT JUDGE

                                                                  Date     December 5, 2007___________
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                                                       PROBATION

      The defendant is hereby placed on probation for a term of five (5) years, as to each of
Counts 6 through 10, with said terms to run concurrently.

        While on probation, the defendant shall not commit another federal, state, or local crime and
shall not illegally possess a firearm, ammunition, or destructive device. The defendant shall also
comply with the standard conditions that have been adopted by this court (set forth below). If this
judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the
defendant pay any such fine or restitution.

       For offenses committed on or after September 13, 1994: The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from placement on probation and at least two periodic drug tests thereafter, as
determined by the probation officer.


                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
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          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant's criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant's compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.


                              ADDITIONAL CONDITIONS OF PROBATION

          The defendant shall also comply with the following additional conditions of probation:

1.        The defendant shall not own or possess a firearm, dangerous weapon or destructive device.

2.        The defendant shall provide the probation officer with all requested financial information, business and
          personal.

3.        The defendant shall serve a period of twelve (12) months home detention, with electronic monitoring,
          to begin at a time designated by the probation officer. While on home detention, the defendant shall
          remain at his place of residence except for absences approved by the probation officer for gainful
          employment, community service, religious services, medical care, education or training, or other such
          purposes as may be authorized by the probation officer. All costs associated with home detention
          shall be paid by the defendant.

4.        The defendant shall complete 500 hours of community service.

5.        The defendant shall submit to testing to determine whether he is using drugs or alcohol.

6.        The defendant shall participate in a program of substance abuse treatment.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.



          Defendant                                                           Date




          U.S. Probation Officer/Designated Witness                           Date
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                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons' Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                    Restitution
                $500.00                                     NONE                          NONE




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $500.00 is imposed, and is due in full immediately.

                                                             FINE

                                                    No fine imposed.

                                                      RESTITUTION

                                                No restitution imposed.
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                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties,
in full immediately.

The defendant must notify the court of any material changes in the defendant's economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant's economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to the
commencement of supervision, the U.S. probation officer shall pursue collection of the amount due.
The defendant will receive credit for all payments previously made toward any criminal monetary
penalties imposed.
